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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO: 13-cv-24506-WPD

   CITY OF MIAMI, a Florida municipal corporation,

          Plaintiff,

   v.

   BANK OF AMERICA CORPORATION, et al.,

         Defendants.
   ________________________________________/

         PLAINTIFF’S UNOPPOSED MOTION FOR DISMISSAL WITH PREJUDICE

          Pursuant to Federal Rule of Civil Procedure 41(a)(2), Plaintiff, the City of Miami, files this

   unopposed motion seeking an order from the Court voluntarily dismissing this lawsuit with prej-

   udice, with each party to bear its own costs and expenses, including, without limitation, attorneys’

   fees. Counsel for Plaintiff has conferred with counsel for Defendants, and is authorized to state

   that Defendants consent to Plaintiff’s request.

          A proposed order granting this motion is appended hereto as Exhibit A.

   Date: January 29, 2020
                                                 Respectfully submitted,

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                                  CERTIFICATE OF SERVICE
        I HEREBY CERTIFY that true and correct copies of the foregoing were served on
     January 29, 2020 via CM/ECF on all counsel or parties of record.

                                                  /s/ D. Porpoise Evans
                                                  D. Porpoise Evans




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